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RULE 26(f) REPORT AND PROPOSED SCHEDULING ORDER (Non-Patent Cases)


                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



 TELESCOPE MEDIA GROUP, a
 Minnesota    corporation;  CARL                CIVIL FILE NO. 0:16-cv-04094-JRT-LIB
 LARSEN; ANGEL LARSEN, the
 founders and owners of Telescope                  RULE 26(f) REPORT
 Media Group,

        Plaintiffs,

        v.

 REBECCA LUCERO, in her official
 capacity as Commissioner of the
 Minnesota Department of Human
 Rights; KEITH ELLISON, in his official
 capacity as Attorney General of
 Minnesota,

        Defendants.
       ______________________________________________________

       The parties/counsel identified below conferred as required by Fed. R. Civ. P.
26(f) and the Local Rules, in November and early December 2019, and prepared the
following report.

       The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
not yet scheduled, but will be held before the United States Magistrate Judge Leo I.
Brisbois at the U.S. Courthouse in Duluth, Minnesota. Counsel for both parties plan to
appear in person.

(a) Description of the Case.

   (1) Concise factual summary of plaintiff’s claims:

        Plaintiffs claim that Defendants have violated their free speech and free exercise
rights under the First Amendment. Defendants interpret the Minnesota Human Rights
Act, Minn. Stat. §§ 363A.11, subd. 1 and 363A.17, subd. 3 (“MHRA”) (1) to force
Plaintiffs to create and publish wedding films that express messages in conflict with their
beliefs about marriage, (2) to contract to do the same, and (3) to ban Plaintiffs from
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publishing speech explaining the messages that they will not express through their
custom wedding films and the religious reasons why.

      Although Plaintiffs asserted additional claims under the First and Fourteenth
Amendments, this Court dismissed those claims, and its dismissal as to those claims
was affirmed on appeal at the Eighth Circuit.

   (2) Concise factual summary of defendants’ claims/defenses:

        Defendants argue that it does not violate the First Amendment to prohibit
Plaintiffs from categorically denying their wedding videography services to same-sex
couples, if they otherwise make those same services available to the public.
Defendants further argue that Defendants have a compelling state interest in ending
sexual orientation discrimination, and applying those anti-discrimination laws to
Plaintiffs’ wedding videography services is narrowly tailored to meet that compelling
state interest. Defendants further argue that prohibiting same-sex discrimination in
Plaintiffs’ wedding videography business does not force Plaintiff to express messages
that conflict with Plaintiffs’ beliefs.

   (3) Statement of jurisdiction (including statutory citations):

       This case raises federal questions under the First Amendment to the United
States Constitution. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and
1343. This action is brought pursuant to 42 U.S.C. § 1983.

   (4) Summary of factual stipulations or agreements:

       The parties have not agreed upon stipulated facts. On October 3, 2019, the
parties stipulated that the Court should enter a preliminary injunction that would stop
Defendants, and any person acting in concert with them, from enforcing MHRA as
applied to Plaintiffs’ “expressive business of producing films (a) promoting marriage
exclusively as an institution between one man and one woman, and (b) declining to
create films that express ideas that conflict with their beliefs about marriage.” (See
Docs. 63 & 64.) The Court entered the stipulated injunction on November 4, 2019.
(Doc. 69.)

   (5) Statement of whether a jury trial has been timely demanded by any party:

       Neither party has requested a jury trial in this case.

   (6) Statement as to whether the parties agree to resolve the matter under the Rules
       of Procedure for Expedited Trials of the United States District Court, District of
       Minnesota, if applicable:

      The parties do not agree to resolve this matter under the Rules of Procedure for
Expedited Trials of the United States District Court, District of Minnesota.

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(b) Pleadings.

   Statement as to whether all process has been served, all pleadings filed and any
   plan for any party to amend pleadings or add additional parties to the action:

       All process has been served. All pleadings (Amended Complaint and Answer)
have been filed. Plaintiffs do not anticipate amending their pleading, or adding more
parties to the action.

(c) Fact Discovery.

   The parties set forth different plans for discovery where noted. They recommend that
   the Court establish the following fact discovery deadlines and limitations:

   (1) The parties must make their initial disclosures under Fed. R. Civ. P. 26(a)(1) on or
       by:

      December 13, 2019.

   (2) The parties must complete any physical or mental examinations under Fed. R. Civ.
       P. 35 by:

      January 31, 2020.

   (3) The parties must commence fact discovery procedures in time to be completed by:

      Plaintiffs’ proposal: July 31, 2020 (expert discovery, if any, would run
      concurrently).

      Defendants’ proposal: May 29, 2020

   (4) The parties propose that the Court limit the use and numbers of discovery
       procedures as follows:

      (A) interrogatories;

                 25 interrogatories, which is consistent with the default limit established
          in Fed. R. Civ. P. 33(a).

      (B) document requests;

                 No limit, which is consistent with the default rule established in Fed. R.
          Civ. P. 34.

      (C) factual depositions;


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                 10, unless a party obtains leave of court, which is consistent with the
          default rule established in Fed. R. Civ. P. 30(2)(A)(i).

      (D) requests for admissions;

                 No limit, which is consistent with the default rule established in Fed. R.
          Civ. P. 36.

      (E) Rule 35 medical examinations;

                 No limit, which is consistent with the default rule established in Fed. R.
          Civ. P. 35.

      (F) other.

                No more limits, except those that the Federal Rules of Civil Procedure
          already provide.

(d) Expert Discovery.

   (1) Whether expert witnesses will be presented at the time of trial.

      (A) Plaintiffs do not anticipate calling expert witnesses, but will do so if
          Defendants elect to call any experts.

      (B) Defendants may call expert witnesses.

   (2) The parties propose that the Court establish the following plan for expert
       discovery:

      (A) Initial experts.

          Note: Whichever party’s proposed deadline is accepted by the Court would
          apply to both parties.

          (i) The identity of any expert who may testify at trial regarding issues on which
               the party has the burden of persuasion must be disclosed on or before:

             Plaintiffs’ proposal: February 28, 2020.

             Defendants’ proposal: June 30, 2020.

          (ii) The initial expert written report completed in accordance with Fed. R. Civ.
               P. 26(a)(2)(B) must be served on or before:

             Plaintiffs’ proposal: April 30, 2020.

             Defendants’ proposal: July 31, 2020
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      (B) Rebuttal experts.

          (i) The identity of any experts who may testify in rebuttal to any initial expert
               must be disclosed on or before:

             Plaintiffs’ proposal: May 29, 2020.

             Defendants’ proposal: August 31, 2020.

          (ii) Any rebuttal expert’s written report completed in accordance with Fed. R.
               Civ. P. 26(a)(2)(B) must be served on or before:

             Plaintiffs’ proposal: July 3, 2020.

             Defendants’ proposal: September 30, 2020.

   (3) All expert discovery must be completed by:

      Plaintiffs’ proposal: July 31, 2020.

      Defendants’ proposal: November 30, 2020.

(e) Other Discovery Issues.

   (1) Protective Order. The parties have discussed whether they believe that a
       protective order is necessary to govern discovery.

      (The parties are encouraged, though not required, to use Form 6 as a template
      for a proposed protective order.)

      Plaintiffs: Plaintiffs anticipate needing a protective order that prevents public
      disclosure of their proprietary business information.

      Defendants: Defendants anticipate needing a protective order that permits
      disclosure of data classified as non-public, not public, or confidential under the
      Minnesota Government Data Practices Act, Minn. Stat. ch. 13.

   (2) Discovery of Electronically Stored Information. The parties have discussed
      disclosure, discovery, and preservation of electronically stored information,
      including the form in which it should be produced. The parties have reached the
      following agreements and identified the following issues:

      The parties agree to produce electronically stored information in native format to
      the extent practical, and to deliver such information via FTP.

   (3) Claims of Privilege or Protection. The parties have discussed issues regarding
       the protection of information by a privilege or the work-product doctrine, as
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      required by Fed. R. Civ. P. 26(f)(3)(D), including whether the parties agree to a
      procedure to assert these claims after production or have any other agreements
      under Fed. R. Evidence 502. The parties request the Court to include the
      following agreement in the scheduling order:

      To comply with Fed. R. Civ. P. 26(b)(5), the parties agree that disclosing parties
      must produce to receiving parties a privilege log within four weeks after relevant
      disclosures are made. The parties are not required to log communications
      between parties and their counsel of record that were created on or after
      December 6, 2016.

   (4) The parties:

      X agree that a party should be required to request an informal conference with
        the Court before filing a discovery motion;

          agree that a party should not be required to request an informal conference
      with the Court before filing a discovery motion; or

         do not agree whether a party should be required to request an informal
      conference with the Court before filing a discovery motion.

(f) Proposed Motion Schedule.

   The parties propose the following deadlines for filing motions:

   (1) Motions seeking to join other parties must be filed and served by December 20,
       2019.

   (2) Motions seeking to amend the pleadings must be filed and served by December
       20, 2019.


   (3) All other non-dispositive motions must be filed and served by:

      30 days after the close of all discovery, except that the deadline for trial motions,
      such as motions in limine, shall be set on a separate schedule or order from the
      Court.

   (4) All dispositive motions, including those relating to expert discovery must be filed
       and served by:

      Plaintiffs: September 25, 2020.

      Defendants: January 29, 2021.


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(g) Trial-Ready Date.

      (1)    The parties agree that the case will be ready for trial on or after 120 days
      after the Court issues an order denying or denying in part the last pending
      summary judgment motion.

      (2)   The parties propose that the final pretrial conference be held on or before
      60 days after the Court issues an order denying or denying in part the last
      pending summary judgment motion.

(h) Insurance Carriers/Indemnitors.

   List all insurance carriers/indemnitors, including limits of coverage of each defendant
   or statement that the defendant is self-insured.

   Defendants: Defendants are self-insured.

(i) Settlement.

   Plaintiffs: Although Plaintiffs are willing to consider any settlement offer, Plaintiffs
   do not believe that settlement conversations or alternative dispute resolution would
   be productive at this time.

   Defendants: Defendants do not believe settlement conversations or alternative
   dispute resolution would be productive at this time.

(j) Trial by Magistrate Judge.

   The parties have not agreed to consent to jurisdiction by the Magistrate Judge
   under 28 U.S.C. § 636(c). (If the parties agree to consent, file the consent with the
   Rule 26(f) Report.)

   Plaintiffs: Plaintiffs would consent to Magistrate Judge jurisdiction under 28 U.S.C.
   § 636(c).

   Defendants: Defendants do not consent to Magistrate Judge jurisdiction under 28
   U.S.C. § 636(c).



 DATE: 12/09/2019                     Jeremy D. Tedesco
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DATE: 12/09/2019            Janine Kimble (w/ permission)
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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2019, I electronically filed the foregoing with
the Clerk of the Court for the United States District Court for the District of Minnesota by
using the CM/ECF system. I certify that all participants in the case are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.


                                                 s/ Jeremy D. Tedesco
                                                 Jeremy D. Tedesco

                                                 Attorney for Plaintiffs




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